2/25/2019           Case: 1:14-cv-01437  Document
                                     Mt.Gox:             #: 405-4Shows
                                             Leaked Info Purportedly Filed: 02/25/19
                                                                         $318             Page 1 Sell-Offs
                                                                              Million Cryptocurrency of 2 PageID     #:6644
                                                                                                           on BitPoint




 BTC $ 3,863 (/bitcoin-price-index)           XRP $ 0.31 (/xrp-price-index)         ETH $ 141 (/ethereum-price-index)              BCH $ 137 (/bitcoin-cash-price-index)     EOS $ 3.76 (/eos-price-in




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           By William Suberg                                                                                                                                                         FEB 05, 2019


  Mt.Gox: Leaked Info Purportedly Shows $318 Million Cryptocurrency Sell-Oﬀs on BitPoint

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  Disclaimer: This article has been updated to correct an error in the title, as the amount involved is $318 million, not $318 billion.


  The trustee for the rehabilitation proceedings of defunct cryptocurrency exchange (https://cointelegraph.com/tags/cryptocurrency-exchange) Mt. Gox
  (https://cointelegraph.com/tags/mt.gox) reportedly sold large amounts of Bitcoin (BTC (https://cointelegraph.com/bitcoin-price-index)) and Bitcoin Cash (BCH
  (https://cointelegraph.com/bitcoin-cash-price-index)) on trading platform BitPoint (https://cointelegraph.com/tags/bitpoint). Cointelegraph Japan
  (https://jp.cointelegraph.com/news/leak-the-trustee-of-mtgox-appears-to-use-bitpoint-to-sell-btc-and-bch) reported on the development on Feb. 5, citing leaked data
  (https://www.goxdox.com/).


  An unidentiﬁed party reportedly sourced information from the legal proceedings involving Mt. Gox at the Tokyo District Court and showed it to Mt. Gox creditor
  campaign group GoxDox.com.


  The information, which appears to be incomplete scans of transactions at BitPoint, allegedly conﬁrms that the Mt. Gox trustee, Nobuaki Kobayashi, sold coins on a
  major exchange to repay creditors.


  “Unless BitPoint is being really generous, we’d wager the reason they are depositing billions JPY into the trustee’s bank account is because they were hired to sell the
  MtGox Estate's BTC/BCH,” GoxDox writes.


  The process of compensating users who lost funds in Mt. Gox’s giant hack in 2014 has been lengthy and fraught with controversy.


  Throughout late 2017 and the ﬁrst half of 2018, suspected sell-oﬀs (https://cointelegraph.com/news/bitcoin-price-hit-2018-lows-because-of-400-mln-mtgox-sell-oﬀ-
  reports) from Kobayashi were rumored (https://cointelegraph.com/news/bitcoins-falling-price-nothing-more-than-perception-or-is-there-manipulation) to be
  manipulating Bitcoin’s price due to their size.

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  Discussing the phenomenon of what is referred to as the “Dumpening (https://cointelegraph.com/news/eﬀects-of-mt-gox-trustees-400-mln-sale-on-bitcoin-market),”
   (https://www.facebook.com/sharer/sharer.php?                         (https://twitter.com/intent/tweet?
  well-known cryptocurrency ﬁgures noted that Kobayashi or an associate may
   u=https%3A%2F%2Fcointelegraph.com%2Fnews%2Fmtgox-                        have openly sought to use mainstream sales channels from the start.
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2/25/2019        Case: 1:14-cv-01437  Document
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                                                                      $318             Page 2 Sell-Offs
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   sell-oﬀs-on-bitpoint)                                                        purportedly-shows-318-billion-cryptocurrency-sell-oﬀs-on-bitpoint via @cointelegrap
  Jesse Powell, CEO of United States (https://cointelegraph.com/tags/usa) exchange Kraken (https://cointelegraph.com/tags/kraken), previously said
  (https://www.reddit.com/r/mtgoxinsolvency/duplicates/82ykgu/re_the_dumpening/) his platform had received a request about methods of large scale selling,
  something GoxDox now also references. However, Powell noted that Kraken’s suggestions for selling coins in an auction or with an OTC broker were not acted on.


  The total amount involved from the leaked documents is just under 35 billion yen ($318.5 million).


  Last week, more revelations from the compensation process showed (https://cointelegraph.com/news/unconﬁrmed-coinlab-increases-mt-gox-claim-from-75-million-to-
  16-billion) that one Mt. Gox creditor, CoinLab, had made a claim on funds worth $16 billion.




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    #BITPoint (/tags/bitpoint)         #Bitcoin Cash (/tags/bitcoin-cash)




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https://cointelegraph.com/news/mtgox-leaked-info-purportedly-shows-318-billion-cryptocurrency-sell-offs-on-bitpoint                                                2/2
